                                                   Case 3:07-cv-05944-JST Document 4648 Filed 05/10/16 Page 1 of 1



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                                             6                                 UNITED STATES DISTRICT COURT
                                             7                              NORTHERN DISTRICT OF CALIFORNIA
                                             8                                       SAN FRANCISCO DIVISION
                                             9
                                                 IN RE: CATHODE RAY TUBE (CRT)                          Master File No. 3:07-cv-05944-JST
                                            10   ANTITRUST LITIGATION                                   MDL No. 1917
R OBINS K APLAN LLP




                                            11                                                          The Honorable Jon S. Tigar
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                                                 This Document Relates to:
                                            12                                                          [PROPOSED] ORDER OF DISMISSAL
                            L OS A NGELES




                                                 Best Buy Co. Inc. et al. v. Technicolor SA, et
                                            13   al., No. 13-cv-05264-JST
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                                            15            The Court having considered the stipulation of the parties, and good cause appearing

                                            16   therefore, orders as follows:

                                            17            1) All claims asserted by Plaintiffs Best Buy Co., Inc., Best Buy Purchasing LLC, Best

                                            18                Buy Enterprise Services, Inc., Best Buy Stores, L.P., and Bestbuy.com, L.L.C. against

                                            19                Defendant Technologies Displays Americas LLC f/k/a Thomson Displays America

                                            20                LLC in the underlying action are hereby dismissed without prejudice pursuant to Fed.

                                            21                R. Civ. P. 41(a)(2).

                                            22            2) Each party shall bear its own costs and attorneys’ fees.
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                                            23            IT IS SO ORDERED.
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                                                           May 10
                                                 Dated: ____________, 2016              _______________________________________
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                                                                                        The Honorable Jon
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                                            26                                          UNITED STATES DISTRICT COURT JUDGE

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                                                 Master Case No. 3:07-cv-05944-JST                -2-            N                     C OF DISMISSAL
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                                                                                                                          [PROPOSED] ORDER
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